Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 1 of 9




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 20-CV-81205-RAR

    SECURITIES AND EXCHANGE
    COMMISSION,

                 Plaintiff,

                        v.

    COMPLETE BUSINESS SOLUTIONS
    GROUP, INC. d/b/a PAR FUNDING, et al.,

              Defendants,
    ______________________________________/


        SECURITIES AND EXCHANGE COMMISSION’S MEMORANDUM
        OF LAW IN SUPPORT OF ITS MOTION FOR AN ORDER TO SHOW
         CAUSE WHY DEFENDANT LISA MCELHONE SHOULD NOT BE
                       HELD IN CIVIL CONTEMPT

          Plaintiff, United States Securities and Exchange Commission, (“SEC” or the

    “Commission”), respectfully submits this memorandum of law in support of its

    Motion for an Order to Show Cause why defendant Lisa McElhone (“McElhone”)

    should not be held in civil contempt and states as follows.

          Defendant Lisa McElhone has moved to release $747,000 from accounts at

    an undisclosed financial institution from the Court's Asset Freeze to pay legal fees

    instead of directing these funds to pay the Court’s Amended Judgment against her,
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 2 of 9




    thereby depriving her victims of compensation.1 The Commission respectfully

    requests that the Court use its inherent equitable authority and order that McElhone

    be held in contempt until these frozen funds are identified and turned over to the

    Receiver to partially satisfy the Court's Judgment entered against her. Because as

    of October 19, 2023, McElhone owes almost $157 million in disgorgement,

    prejudgment interest and post-judgment interest pursuant to the Amended

    Judgment entered by this Court, she should not be allowed to shelter these funds

    any longer.

                                             BACKGROUND

            At the outset of this litigation, on July 28, 2020, the Court ordered the

    Defendants, Lisa McElhone and Joseph W. LaForte (“LaForte”) (collectively

    referred to as the “Defendants”) to provide an accounting of their assets.2 McElhone

    has not provided an accounting or disclosed the location of the accounts at issue to

    the SEC.3

            On November 22, 2022, this Court entered an Amended Final Judgment

    against the Defendants requiring them to disgorge $153,224,738.24 (including

    prejudgment interest) and for each to pay civil penalties of $21,850,000




    1
      Dkt. No. 1720.
    2
      Dkt. No. 42.
    3
      Declaration of Michael Roessner (Roessner Decl.) at ¶ 5.
                                                        2
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 3 of 9




    (“Judgment”).4 The Judgment provides that all funds collected by the SEC be

    turned over to the Receiver Ryan Stumphauzer (the “Receiver”). 5

            On January 17, 2023, the SEC provided McElhone a notice of delinquency

    and a demand to pay the Judgment.6 To date, McElhone has not fully satisfied the

    Judgment.7

            Rather than pay anything towards her Court-ordered obligation, on October 6,

    2023, McElhone moved to release several previously undisclosed accounts to pay

    legal expenses.8 The SEC repeatedly requested that McElhone provide the location

    of these accounts, but McElhone refused to provide their location and, in her motion,

    indicated that she would only provide that information if she was ordered to do so

    by the Court. 9

                                                   DISCUSSION

            A.      Disgorgement is an Equitable Remedy

            This Court has the inherent power to use a civil contempt proceeding to

    enforce its orders.10        Moreover, the power to enforce judicial orders through




    4
      Dkt. No. 1451
    5
      Id.
    6
      Roessner Decl. at ¶ 3.
    7
      Roessner Decl. at ¶ 4. The only credit the defendants have received was pursuant to the Court’s Order
    directing turnover and credit of certain assets. See Dkt. No. 1525.
    8
      Dkt. No. 1721.
    9
      Id. at Fn. 1; see also Roessner Decl. at ¶¶ 5, 6.
    10
       Shillitani v. United States, 384 U.S. 364, 370 (1966).
                                                        3
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 4 of 9




    contempt proceedings has been incorporated into Rule 70 of the Federal Rules of

    Civil Procedure, which provides in pertinent part:

            If a judgment directs a party … to perform any … specific act and the party
            fails to comply within the time specified, … the court may also in proper
            cases adjudge the party in contempt ….11

            Given McElhone’s violation of the federal securities laws, this Court has the

    power to order the disgorgement of her ill-gotten gains.12 Indeed, because of the

    equitable nature of disgorgement and its role in deterring illegal conduct, the

    disgorgement order against McElhone constitutes an injunction in the public interest,

    rather than a mere money judgment.13 The order for McElhone to disgorge is

    designed to serve the important public interest of precluding her from benefitting

    from her illegal conduct and the Court may compel McElhone’s compliance with it

    through a civil contempt proceeding.14

            B.      Contempt Legal Standard

            Based on the foregoing, it is well-settled that district courts have the inherent

    power to enforce compliance with their lawful orders through civil contempt. 15 “A

    party seeking civil contempt bears the initial burden of proving by clear and

    convincing evidence that the alleged contemnor has violated an outstanding court


    11
       Fed. R. Civ. P. 70.
    12
       See, e.g., SEC v. Blavin, 760 F.2d 706, 713 (6th Cir. 1985).
    13
       SEC v. AMX, International, Inc., 7 F.3d 71, 74-75 (5th Cir. 1993).
    14
       Id.; SEC v. Solow, 682 F. Supp. 2d 1312, 1324-25 (S.D. Fla. 2010)
    15
       Shillitani v. United States, 384 U.S. 364, 370 (1966); see also Fed. R. Civ. P. 70 (in proper cases, court
    may adjudge a party in civil contempt for failure to perform specific acts required by a judgment).
                                                          4
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 5 of 9




    order.”16 So long as the SEC establishes McElhone’s violation of the

    disgorgement order, there is no further need to show that she acted with a wrongful

    intent or a lack of good faith.17 The defendant’s intent is irrelevant as a contempt

    proceeding focuses only on compliance with the court’s order.18

            Once non-compliance with her disgorgement obligation is shown, the

    burden then shifts to the defendant to prove her inability to comply with the

    Court’s order. 19 “To succeed on an inability defense, the alleged contemnor must

    go beyond a mere inability and establish that he or she has, in good faith,

    undertaken ‘all reasonable efforts’ to meet the terms of the order in question.” 20

    The Eleventh Circuit construes the “all reasonable efforts” requirement strictly:

           Even if the efforts he did make were “substantial,” “diligent” or “in
           good faith,” ... the fact that he did not make “all reasonable efforts”
           establishes that [respondent] did not sufficiently rebut the ... prima
           facie showing of contempt.’”21




    16
       CFTC v. Wellington Precious Metals, Inc., 950 F.3d 1525, 1529 (11th Cir. 1992).
    17
       SEC v. Musella, 818 F. Supp. 600 (S.D.N.Y. 1993) (internal citations omitted) (“The party seeking a
    finding of contempt need not show that violation of the order was willful, and good faith is not a defense.
    Nor may the alleged contemnor rely on his own inadvertence, misunderstanding or advice from
    counsel.”).
    18
       Howard Johnson Co., Inc. v. Khimani, 892 F.2d 1512, 1516 (11th Cir. 1990).
    19
       United States v. Rylander, 460 U.S. 752, 755 (1983).
    20
       Wellington, 950 F.3d, at 1529. (Internal citations omitted).
    21
       Id. (quoting United States v. Hayes, 722 F.2d 723 (11th Cir. 1984)).
                                                         5
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 6 of 9




            C.      McElhone’s Failure to Pay Disgorgement Constitutes Contempt

                    1.      Prima Facie Case

            This Court should find McElhone in contempt of its Judgment, because she's

    only paid a small portion of the nearly $157 million in disgorgement and

    prejudgment interest she owes.22 Here, the SEC’s burden as set forth in CFTC v.

    Wellington Precious Metals, Inc. is easily satisfied.23 First, there can be no doubt

    that the Court’s Judgment was clear and unambiguous in its order to pay. Second,

    McElhone owes over $150 million on the disgorgement and prejudgment interest

    debt and has not made a significant payment since the Judgment was entered. Third,

    the lack of any meaningful payment made pursuant to the Judgment, despite her

    acknowledgment of her own ability to pay at least a portion due from undisclosed

    accounts is clear and convincing evidence that McElhone has not used all

    “reasonable efforts” to pay the Judgment.

                   2.       McElhone Can Comply, in Part, with the Court’s Judgment

            McElhone         has     accounts       that     she      can     use     to   make   not

    “insignificant payments towards” the Court’s Judgment.24 In her current Motion,

    however, McElhone proposes to short-change the investors and use the funds for

    her personal legal expenses.25 This admission establishes that McElhone knows of


    22
        Roessner Decl. at ¶ 4.
    23
        CFTC v. Wellington Precious Metals, Inc., 950 F.3d 1525, 1529 (11th Cir. 1992).
    24
       Dkt. No. 1721.
    25
       Id.
                                                       6
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 7 of 9




    assets that can be used to pay part of the Judgment, but wants to keep those assets

    out of the hands of the SEC and the Receiver. Consequently, she is not using “all

    reasonable efforts” to comply with the Court’s Order and is clearly in civil contempt.

           Once contempt has been established, a district court has “wide discretion in

    fashioning an equitable remedy in civil contempt….”26 Such remedial sanctions

    may include any type of coercive order designed to produce compliance with the

    Court’s equitable orders. 27            Indeed, district courts in recent Commission

    enforcement actions have imposed incarceration to force defendants to comply with

    orders to pay disgorgement and surrender funds.28                     Considering McElhone’s

    contempt, and her financial resources, the Court should order that McElhone

    disclose the location of all assets in which she has an interest or be incarcerated until

    she provides the SEC with a meaningful payment towards her disgorgement

    obligation. 29 Without such an order, McElhone will simply continue to shield her




    26
       FTC v. Leshin, 618 F.3d 1221, 1237 (11th Cir. 2010); see also EEOC v. Local 28, 247 F.3d 333, 336
    (2d Cir. 2001) (finding that district court has “broad discretion to fashion an appropriate coercive
    remedy … based on the nature of the harm and the probable effect of alternative sanctions.”)
    27
       See United States v. United Mine Workers, 330 U.S. 258, 304 (1947).
    27 See, e.g., SEC v. Solow, 682 F. Supp. 2d 1312, 1334 (S.D. Fl. 2020) (where defendant refused to pay
    disgorgement and prejudgment interest, district court ordered “that Mr. Solow shall surrender to the
    custody of the U.S. Marshall’s Office”); SEC v. Durante, 2013 WL 6800226 (S.D.N.Y. Dec. 19, 2013)
    (“Because Durante has failed to comply, despite being given every opportunity to do so, he should be
    ordered incarcerated until he makes meaningful payments towards the disgorgement amount and provides
    a current and accurate accounting of his income and assets.”); SEC v. Kapur, 2015 WL 4040558
    (S.D.N.Y. July 1, 2015) (finding Kapur had not proven his inability to comply, the court found him in
    contempt, and ordered him incarcerated until he purged the contempt.).


                                                      7
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 8 of 9




    assets via this Court’s asset freeze without disclosing them to the SEC and with total

    disregard for the Judgment entered against her by this Court.

              Indeed, failing to take any action in light of McElhone’s contempt clearly

    threatens the SEC’s recovery of sums the Court has ordered to be paid and deprives

    the victims of funds that will be returned to them. McElhone seems to have lost

    sight of the fact that this Court found that she broke the law, and the Court’s

    Judgment requiring disgorgement is not to be “treated as a contribution to one's

    favorite charity that one makes if and when one feels able to do so.” 30

                                             CONCLUSION

              For the reasons set forth above, the Commission respectfully urges this Court

    to grant its Motion for an order requiring Lisa McElhone to show cause, if any, why

    she should not be held in civil contempt for failure to pay the disgorgement,

    prejudgment, and post judgment interest required by this Court’s November 22,

    2022 Amended Final Judgment. The Commission further requests that the Court

    grant such other and further relief as this Court deems just and proper.

              Dated: October 20, 2023
              Washington, D.C.




    30
         See Musella, 818 F. Supp. at 612.
                                                8
Case 9:20-cv-81205-RAR Document 1729-1 Entered on FLSD Docket 10/20/2023 Page 9 of 9




                                 Respectfully submitted,


                                 s/MICHAEL J. ROESSNER
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